                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN

       In re: IOTT, KEVIN ROLAND                                          §   Case No. 09-48174-MBM
              IOTT, LAURA SUE                                             §
                                                                          §
   Debtor(s)                                                              §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       Timothy J. Miller                           , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             United States Bankruptcy Court
             211 West Fort Street, Suite 1030
             Detroit, MI 48226

               Any person wishing to object to any fee application that has not already been approved, or
       to the Final Report, must file a written objection within 21 days after the date of service of this
       notice pursuant to Fed. R. Bankr. P. 9006(a), upon the trustee, any party whose application is
       being challenged and to the United States Trustee. If a response or answer is timely filed and
       served, the clerk will schedule a hearing and the objecting party will be served with a notice of the
       date, time and location of the hearing. If no objections are filed, the Court will act on the fee
       applications and the trustee may pay dividends pursuant to FRBP 3009 without further order of
       the Court.


                       / /                        By: /s/Timothy J. Miller
                                                                         Trustee
       Timothy J. Miller
       64541 Van Dyke, Suite 101B
       Washington Township, MI 48095
       (586) 281-3764
       trustee@schneidermiller.com




UST Form 101-7-NFR (10/1/2010)


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                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF MICHIGAN

              In re: IOTT, KEVIN ROLAND                                                    §       Case No. 09-48174-MBM
                     IOTT, LAURA SUE                                                       §
                                                                                           §
        Debtor(s)                                                                          §

                                   SUMMARY OF TRUSTEE'S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                        $            1,500.19

                     and approved disbursements of                                             $               267.61
                                                           1
                     leaving a balance on hand of                                              $            1,232.58

                                                         Balance on hand:                                  $                1,232.58
               Claims of secured creditors will be paid as follows:

Claim           Claimant                                      Claim Allowed Amount Interim Payments                          Proposed
No.                                                         Asserted       of Claim          to Date                         Payment
   4            Monroe Bank & Trust                        59,976.06                    0.00                   0.00               0.00
   10           Kevin and Laura Iott                              1.00                  1.00                   0.00               1.00
                                                         Total to be paid to secured creditors:            $                    1.00
                                                         Remaining balance:                                $                1,231.58

               Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                                         Total Requested Interim Payments                   Proposed
                                                                                                   to Date                  Payment
Trustee, Fees - Timothy J. Miller                                                    375.05                    0.00             297.99
Trustee, Expenses - Timothy J. Miller                                                 85.00                    0.00              67.54
Attorney for Trustee, Fees - Schneider Miller, P.C.                                1,000.00                    0.00             794.54
Attorney for Trustee, Expenses - Schneider Miller, P.C.                               90.00                    0.00              71.51
                                Total to be paid for chapter 7 administration expenses:                    $                1,231.58
                                Remaining balance:                                                         $                    0.00




                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                                Total Requested Interim Payments          Proposed
                                                                                          to Date         Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:     $                    0.00
                             Remaining balance:                                              $                    0.00

              In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments             Proposed
No                                                                    of Claim          to Date            Payment
                                                        None
                                                  Total to be paid for priority claims:      $                    0.00
                                                  Remaining balance:                         $                    0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 124,331.59 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments             Proposed
No                                                                    of Claim          to Date            Payment
  1            American Infosource Lp As Agent for                        291.76                 0.00               0.00
  2            Consultants Lab                                            225.37                 0.00               0.00
  3            Chase Bank USA NA                                       10,392.00                 0.00               0.00
  5            Wettle, Brent and Heather                               87,500.00                 0.00               0.00
  6            Capital Recovery III LLC                                 3,495.91                 0.00               0.00
  7 -2         WORLD'S FOREMOST BANK                                   18,457.15                 0.00               0.00
  8            Toledo Hospital                                          3,969.40                 0.00               0.00
                             Total to be paid for timely general unsecured claims:           $                    0.00
                             Remaining balance:                                              $                    0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 703.86 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

               Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                          Allowed Amount Interim Payments                Proposed
No                                                                      of Claim          to Date               Payment
  9            American Express Bank FSB                                    703.86                   0.00              0.00
                             Total to be paid for tardy general unsecured claims:                $                 0.00
                             Remaining balance:                                                  $                 0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                          Allowed Amount Interim Payments                Proposed
No                                                                      of Claim          to Date               Payment
                                                          None
                                                   Total to be paid for subordinated claims: $                     0.00
                                                   Remaining balance:                        $                     0.00




                                                Prepared By: /s/Timothy J. Miller
                                                                                      Trustee

             Timothy J. Miller
             64541 Van Dyke, Suite 101B
             Washington Township, MI 48095
             (586) 281-3764
             trustee@schneidermiller.com


             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R.§1320.4(a)(2) applies.




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